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                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

ERIC BROWN,                                      )
                                                 )
       Plaintiff,                                )
                                                 )
       v.                                        )       Case No. 2:16-CV-1843- KOB
                                                 )
MARK PETTWAY, in his official                    )
Capacity as Sheriff of Jefferson                 )
County, Alabama,                                 )
                                                 )
       Defendant.                                )


                         MEMORANDUM OPINION AND ORDER

       This matter comes before the court on Plaintiff’s motion for reconsideration. (Doc. 51).

In his motion, Plaintiff Eric Brown asks the court to reconsider its granting Defendant’s motion

for summary judgment and entering judgment against Mr. Brown on his race discrimination

claim. Coincidentally, almost simultaneously with Mr. Brown filing his motion, this court sua

sponte withdrew its prior Memorandum Opinion and Order for reasons unrelated to Mr. Brown’s

motion, technically rendering that motion moot. The next day the court issued an amended

Memorandum Opinion and Order, consistent with its prior ruling to enter judgment for

Defendant Pettway and against Plaintiff Brown. Mr. Brown’s motion does not address any of the

reasons this court sua sponte withdrew its prior Order and instead relies on arguments that apply

equally to the court’s original Memorandum Opinion, (doc. 49), and its amended Memorandum

Opinion, (doc. 53). So, for judicial efficiency, this court treats Mr. Brown’s motion as directed

toward the amended Memorandum Opinion and Order. For the reasons stated below, this court

DENIES Mr. Brown’s motion and declines to reconsider its prior ruling.
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        Whether to grant a motion to reconsider under Federal Rule of Civil Procedure 59(e) or

60(b) is within the discretion of the trial court. See Smith v. Casey, 741 F.3d 1236, 1241 (11th

Cir. 2014). As Mr. Brown correctly points out, “reconsideration of an order is an extraordinary

remedy and is employed sparingly.” Rueter v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 440

F. Supp. 2d 1256, 1267 (N.D. Ala. 2006). The moving party “must demonstrate why the court

should reconsider its prior decision and ‘set forth facts or law of a strongly convincing nature to

induce the court to reverse its prior decision.’” Fidelity & Deposit of Md. v. Am. Consertech,

Inc., No. 06-03338-CG-M, 2008 WL 4080270, at *1 (S.D. Ala. Aug. 28, 2008) (quoting Cover v.

Wal-Mart Stores, Inc., 148 F.R.D. 294 (M.D. Fla. 1993)).

        Three grounds justify reconsideration of an order: when a party submits evidence of (1)

“an intervening change in controlling law,” (2) “the availability of new evidence,” or (3) “the

need to correct clear error or manifest injustice.” Wallace v. Holder, 846 F. Supp. 2d 1245, 1248

(N.D. Ala. 2012) (quoting Summit Med. Ctr. of Ala., Inc. v. Riley, 284 F. Supp. 2d 1350, 1355

(M.D. Ala. 2003)). “[A] motion to reconsider should not be used by the parties to set forth new

theories of law.” Mays v. U.S. Postal Serv., 122 F.3d 43, 46 (11th Cir. 1997). And “[a]dditional

facts and arguments that should have been raised in the first instance are not appropriate grounds

for a motion for reconsideration.” Rossi v. Troy State Univ., 330 F. Supp. 2d 1240, 1249 (M.D.

Ala. 2002).

        Mr. Brown’s motion does not specify on which of the three grounds for reconsideration it

relies. But the motion does not use any previously unavailable evidence and does not identify

any intervening change in controlling law. 1 So the court assumes the motion intends to argue that

this court needs to correct clear error and prevent manifest injustice.


1
 Although Plaintiff did not identify any intervening change in controlling law, a change has occurred. See Lewis v.
Union City, Ga., No. 15-11362, 2019 WL 1285058 (11th Cir. Mar. 21, 2019) (en banc). But the court already
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        To that end, Mr. Brown asserts that this court entered judgment against him because he

failed to allege that he suffered any adverse employment action and because he failed to identify

a similarly situated comparator. (Doc. 51 at 3). But this court did conclude that a jury could find

that Mr. Brown suffered adverse employment action. (Doc. 49 at 10; Doc. 53 at 10) (“Because a

jury could find that the administrative restrictions Defendant placed on Mr. Brown constituted a

material adverse change to the privileges of Mr. Brown’s employment as a Deputy Sheriff, the

court declines to rule on summary judgment that Mr. Brown failed to establish that he suffered

an adverse employment action because of his administrative restrictions.”) (emphasis in

original).

        Admittedly, this court narrowed the scope of Mr. Brown’s claim by concluding that his

involuntary reassignment to the Corrections Division was not adverse employment action. (Doc.

49 at 9–10; Doc. 53 at 9–10). Mr. Brown relies on the standard for adverse employment action in

the retaliation context to argue that this conclusion was in error. (Doc. 51 at 3–4) (citing

Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53, 68 (2006)). But Mr. Brown brought

claims for racial discrimination, not retaliation. One of the cases he cites in his motion illustrates

why that distinction is so important to the present matter: “We next conclude that the shift

change cannot support a Title VII or § 1983 discrimination claim but can constitute an adverse

employment action for purposes of Smith’s retaliation claims . . . .” Smith v. Greensboro, 647 F.

App’x 976, 981 (11th Cir. 2016) (emphasis added). The court declines to reconsider its prior

ruling and reanalyze this case under the incorrect legal standard, as Mr. Brown requests.

        Mr. Brown next argues this court erred in rejecting several of his proffered comparators

as not being similarly situated in all material respects. But his motion does nothing more than

addressed that issue by sua sponte withdrawing and amending its prior Memorandum Opinion and Order. (Docs. 53
and 54). The court completed its own review in light of Lewis and concluded that the clarified standard did not
impact the court’s final determination in this matter.
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rehash old arguments or present arguments that he could have and should have raised in his

response to Defendant’s motion. Mr. Brown has failed to convince this court that it committed

clear error and that allowing him a second bite at the proverbial apple is the only way to prevent

manifest injustice. See Hammonds v. DeKalb County, Ala., No. 4:16-BE-1558-M, 2017 WL

1407461, at *1 (N.D. Ala. Apr. 20, 2017).

       So this court DENIES Mr. Brown’s motion for reconsideration.

       DONE and ORDERED this 8th day of April, 2019.



                                             ____________________________________
                                             KARON OWEN BOWDRE
                                             CHIEF UNITED STATES DISTRICT JUDGE
